        Case: 3:17-cv-00935-slc Document #: 1 Filed: 12/14/17 Page 1 of 6



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN




MICHAEL J. CALABRESA,                              Case no.

                Plaintiff,

      Vs.

UNUM LIFE INSURANCE COMPANY OF
AMERICA,

                Defendant.


                                 COMPLAINT
______________________________________________________________________________

      The plaintiff, by his attorney Lawrence Bensky, alleges as follows:

      1.     This is an action under the Employee Retirement Income Security Act

(ERISA), 29 U.S.C. §§ 1001-1461, to recover long-term disability benefits the

defendant owes to plaintiff Michael Calabresa.

                              JURISDICTION AND VENUE

      2.     The Court has jurisdiction of this case under 28 U.S.C. § 1331 and 29

U.S.C. §§ 1132(e) and (f).

      3.     Venue is proper in this District under 29 U.S.C. § 1132(e)(2) because

the defendant may be found in this District.

                                         PARTIES

      4.     The plaintiff is an adult resident of Wisconsin.
        Case: 3:17-cv-00935-slc Document #: 1 Filed: 12/14/17 Page 2 of 6



      5.     The defendant, Unum Life Insurance Company of America (“Unum”),

is an insurer authorized to do and does business in Wisconsin.

                                       FACTS

The Plan

      6.     Mr. Calabresa was employed by Jewelers Mutual Insurance Company

or an affiliated company (“Jewelers Mutual”) beginning in 2007.

      7.     By virtue of his employment with Jewelers Mutual, Mr. Calabresa was

a participant in the Jewelers Mutual Insurance Company Plan (the “Plan”). Among

other things, the Plan provided disability income benefits for persons defined by the

Plan as being totally disabled.

      8.     The Plan was funded by insurance issued by Unum. Unum made

benefit determinations and was a claims fiduciary under the Plan. On information

and belief, Unum decided which claims were covered under the Plan and also paid

covered claims.

Mr. Calabresa’s Job Duties

      9.     Jewelers Mutual and its affiliates provide insurance products to

protect sellers, manufacturers, and owners of jewelry from losses. For many years,

Jewelers focused on commercial lines – products insuring businesses, such as

jewelry retailers. In about 2013, Jewelers decided to substantially expand its

business into personal lines – insurance for the consumer who purchases jewelry.

      10.    Mr. Calabresa’s initial job with Jewelers Mutual primarily involved

marketing commercial lines. When Jewelers Mutual expanded into personal lines, it



                                          2
         Case: 3:17-cv-00935-slc Document #: 1 Filed: 12/14/17 Page 3 of 6



promoted Mr. Calabresa to become the head of the personal lines sales department.

He began as personal lines sales director in January 2014.

       11.     Mr. Calabresa’s job primarily involved two essential functions: 1)

planning for the establishment, development, and expansion of the personal lines

business and supervising a small staff to work with him to execute those plans, and

2) developing, maintaining, and expanding key industry relationships, primarily by

representing the company in face-to-face contacts with personnel of various entities,

such as national and regional jewelry associations, large jewelry retailers, “affinity

partners” (small groups of individuals who would work together to promote

Jewelers Mutual products), and others.

       12.     During most of a year, Mr. Calabresa’s primary duties involved travel-related

activities. He traveled and represented Jewelers Mutual by direct contact with key industry

personnel. For specific events or activities, for example, he planned for and prepared

presentation materials; setup and tore down booths at trade shows; worked on the floor during

trade show hours; gave formal presentations and speeches to jewelers during education sessions;

hosted events sponsored by Jewelers Mutual; and entertained and networked with influential

large jewelers and key people, such as jewelry industry association executives and directors.

       13.     On most trips for Jewelers Mutual, it was necessary for Mr. Calabresa to lift more

than 20 pounds and on many days he was required to stand or walk more than 5.5 hours a day.

Mr. Calabresa’s Disability and Requests for Disability Benefits

       14.     Mr. Calabresa’s disability began on April 27, 2015, when he had a “TIA”

(transient ischemic attack) in his office; he suffered a stroke two days later.




                                                  3
        Case: 3:17-cv-00935-slc Document #: 1 Filed: 12/14/17 Page 4 of 6



      15.    As a result of his disabling condition, Mr. Calabresa applied for long-

term disability benefits. On October 15, 2015, Unum approved his application. It

found that Mr. Calabresa was unable to work due to his medical conditions of a torn

hamstring and a stroke. Under the terms of the disability policy, benefits were

retroactive to and benefits began as of July 26, 2015.

      16.    In an October 26, 2016, letter, Unum informed Mr. Calabresa that its

definition of “disability” would change as of July 26, 2017, from inability to perform

the material and substantial duties of his regular occupation to inability to perform

any occupation for which he was reasonably qualified by way of training, education,

and experience.

      17.    On March 27, 2017, Unum informed Mr. Calabresa that it no longer

considered him disabled and that his long-term disability benefits would cease as of

that date.

      18.    Mr. Calabresa appealed and requested reconsideration of the decision

on several occasions but Unum affirmed its denial of benefits. It based its decision

on its conclusion that the material and substantial duties of Mr. Calabresa’s

occupation as performed in the national economy were sedentary.

      19.    Mr. Calabresa’s duties were not sedentary. Unum’s decision otherwise

was arbitrary and capricious because no reasonable review of the evidence available

to Unum could result in a decision denying benefits under the policy definition of

disability in effect until July 25, 2017.




                                            4
         Case: 3:17-cv-00935-slc Document #: 1 Filed: 12/14/17 Page 5 of 6



                                       CLAIM FOR RELIEF

        20.      Mr. Calabresa incorporates the allegations of paragraphs 1-19 above.

        21.      Under 29 U.S.C. § 1132(a)(1)(B), Mr. Calabresa is entitled to long-term

disability benefits under the Plan for the period from March 27, 2017 through July

26, 2017.

        22.      Mr. Calabresa has exhausted his administrative remedies under the

Plan.

        23.      Unum acted arbitrarily and capriciously in interpreting the Plan, in

determining the material and substantial duties of Mr. Calabresa’s occupation as

actually performed and as performed in the national economy, and in performing its

duties under the Plan and under law.

                                   RELIEF REQUESTED

                 The plaintiff requests relief as follows:

              A. Disability benefits for the period from March 27, 2017 through July 26,

                 2017.

              B. Pre-judgment interest;

              C. Reasonable attorney fees;

              D. Costs and disbursements; and

              E. Such other relief as the Court deems just and proper.




                                               5
       Case: 3:17-cv-00935-slc Document #: 1 Filed: 12/14/17 Page 6 of 6



Dated: December 14, 2017
                                            /s/
                                          ______________________________

                                          Lawrence Bensky
                                            Attorney for Michael J. Calabresa



Law Office of Lawrence Bensky, LLC
10 East Doty St., Suite 800
Madison, Wisconsin 53703
Phone: (608) 204-5969
Email: lbensky@benskylaw.com




                                      6
